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EXHIBIT 8 – CITED PAGES
 FROM DEPOSITION OF
  WILLIAM REBELLO
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 1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
 2                             EASTERN DIVISION
 3
 4              ALISON O'DONNELL
 5                             Plaintiff
                        vs .                          Case No. 1:16-cv-2450
 6                                                    Judge Donald E. Nugent
                UNIVERSITY HOSPITALS
 7              HEALTH SYSTEM, et al.
 8                             Defendants.
 9
10                       DEPOSITION OF WILLIAM R. REBELLO
                              Friday, August 18, 2017
11
12
13                      The deposition of WILLIAM R. REBELLO                       a

14              Defendant herein, called for examination by the

15              Plaintiff under the Federal Rules of Civil
16              Procedure, taken before me, Diane M. Stevenson,
17              a Registered Diplomate Reporter, Certified
18              Realtime Reporter,           and Notary Public in and for
19              the state of Ohio, pursuant to notice,                      at The

20              Spitz Law Firm           25200 Chagrin Blvd., Suite 200,

21              Beachwood        Ohio     commencing at 9:07 a.m.                 the

22              day and date above set forth.
23
24
                        Stevenson Reporting Service Inc.
25                   2197 Macon Court   Westlake, Ohio 44145
                          440.892.8600 dianeOnls.net
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         1                         Maybe the            because I can't judge the
         2              substance of a note;               I don't have any clinical
         3              background.            But I don't know if it was the
         4              length of her notes or the detail of her note
         5              compared to some other residents                                 0r

         6              fel 1ows'        note.
         7      Q.      Was she directing her complaints                          any of the
         8              complaints she made to you that day, at anybody
         9              specific, any of the physicians?
09:34 1 0       A.      I believe Dr.            Uli.
        11      Q.      Anyone else?
        12      A.      Not that I can recal1.
        13      Q.      So she brought up the timeliness of patient
        14              notes,        possibly the substance, you are not sure
        15              about that.            What about               what else did she
        16              raise as an issue?
        17      A.      I believe that was it at that time.
        18      Q.      How long was this meeting with Dr.                         O'Donnell?

        19      A.      Probably less than 45 minutes                        I would say.
09:34   20      Q.      Did she give you any documents to keep?
        21      A.      Not that I recall.
        22      Q.      Did you take any notes during this meeting?
        23      A.      No     I    couldn't      find any notes           from    back then

        24              because usually I put them in her file.                               I
        25              pulled her file from archives when I saw the


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         1              Kind of solemn,         maybe.

         2      Q.      Did she mention anything about her race during
         3              this meeting?
         4      A.      No .
         5      Q.      Did she mention anything about any medical
         6              conditions she suffered from?
         7      A.      No .
         8      Q.      Did she talk about Wednesday conferences?
         9      A.      No     I don't believe in the first meeting.
09:37   10      Q.      Did she mention any other physicians in terms
        11              of directing complaints towards them other than
        12              Dr.    U1i?
        13      A.      Not that I can recall                in that first meeting.
        14      Q.      So the sort of conclusion of the first meeting
        15              was you directed her back to the program
        16              director and/or the faculty in the fellowship?
        17      A.      Yes     to find out the required                    like what they
        18              wanted her,        exactly,     to do.       It just seemed
        19              like a miscommunication to me.
09:37 20        Q.      And did she say,          "Okay,       I will do that"?
        21      A.      I believe so.          Yeah,     I    believe she did.

        22      Q.      Did you talk with anyone about this meeting
        23              with Dr. O'Donnel1?              Did you go
        24      A.      Just to my director.             Dr. Shuck.
        25      Q.      What did you tell Dr. Shuck?


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         1      A.      That I had met with her and she was concerned
         2              about her notes and her progress notes                       or
         3              something like that.
         4      Q.      And did Dr. Shuck indicate whether or not he
         5              had met with or spoken to Dr.                  O'Donnell     before
         6              about any of these issues?
         7      A.      No .
         8      Q.      Did you speak with anyone else about the
         9              meeting other than Dr. Shuck?
09:38   10      A.      Not that I recall,           no.
        11      Q.      When was the next time you heard from
        12              Dr.    O'Donnell?

        13      A.      I believe it was like four months later in
        14              March she came back.
        15      Q.      Came back to your office?
        16      A.      Correct.
        17      Q.      Was this a scheduled meeting or unannounced?
        18      A.      Unannounced.
        19      Q.      Had you spoken with her in between these two
09:38 20                events?
        21      A.      No .
        22      Q.      Do you know whether she had spoken to anyone
        23              else in your office between these two events?
        24      A.      No .
        25      Q.      So if she came in.             And tell me what was the


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         1      Q.      So was she giving you examples of situations
         2              where it was tough for her to speak up or
         3              situations where her disorder made it tough for
         4              her?
         5      A.      Yes.
         6      Q.      Tell me all the examples you can recall.
         7      A.      Wei 1    basically,       like she didn't                she said it
         8              was like on the fly,            like if they are rounding
         9              and there was more than one fellow with her or
09:43 1 0               one resident and then attendings asking
        11              quest!ons        it was difficult for her just                    to

        12              speak up and be heard over everyone else.
        13                      And then the same thing at conferences
        14              like there wasn't very much specific things
        15              other than she was having problems speaking up
        16              in front of an audience with no time to
        17              prepare.
        18      Q.      Did she specifically talk with you about these
        19              conferences that happen on Wednesdays?
09:43   20      A.      I don't remember that.               I don't recall that.
        21              I do recall her saying something about                             I was
        22              trying to think of what                      just about at
        23              conferences how conflictive it was for her
        24              there,     like how loud it was.
        25      Q.      Now, these conferences that she is referring


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         1          to      you don't attend any of these                   correct?
         2   A.     No .
         3   Q.     So you have no personal knowledge as to how
         4          these conferences are conducted, correct?
         5   A.     None.
         6   Q.     How long did this second meeting last with
         7          Dr . O'Donnel1?
         8   A.     I would guess less than                      about the same as
         9          the first meeting.
09:44   10   Q.     Around about 45 minutes,               maybe?
        11   A.     Yeah.
        12   Q.     Did she bring any documents with her the second
        13          time?
        14   A.     Yes .
        15   0.     Was it, from what you could tell,                     the same
        16          binder?
        17   A.     The same binder.
        18   Q.     Was this like an actual              it was like a
        19          three-ring binder that she had?
09:44 20     A.     Correct.

        21   Q.     Did she show any of it to you during the second
        22          meeting?
        23   A.     She opened it and showed me things in it.
        24   0.     What did she show you?
        25   A.     From what       I   recal1     notes that         she had written



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         1          some plan that she wanted done with Dr.                           U 1 i and
         2          the rest of the faculty over there.                            Some of
         3          her evaluations were in there.                      I think that
         4          was about it.
         5   Q.     Did she give you any of these documents to
         6          keep?
         7   A.     Not that I recal1.
         8   Q.     At any point during this meeting or the first
         9          meeting, did you ever ask to review her binder
09:45   10          that she had with her?
        11   A.     No .
        12   Q.     Did you ever ask to keep any of the documents
        13          she had in her binder?
        14   A.     No .
        15   Q.     Now,     this second meeting was just the two of
        16          you ,    as well?
        17   A.     Correct.
        18   Q.     Did she indicate whether she had spoken to
        19          anyone else about the complaints that she was
09:45   20          now making to you?
        21   A.     No .

        22   Q.     By     this   point   do   you    know whether           she    had

        23          spoken to Dr. Shuck at all?
        24   A.     No      I wasn't aware if she did.
        25   Q.     Did     she   say whether        or   not    she   had    raised      any



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         1              of these complaints with Dr.                    Uli or any of the
         2              other physicians in the program?
         3      A.      I wasn't sure if she did or didn't.                             No,   she
         4              didn't tell me              specifically.
         5      Q.      All    right.         So she referenced her social
         6              anxiety disorder.               She said she was being
         7              discriminated against based on being an
         8              African -American.              Did she raise any other
         9              forms of discrimination she said she was
09:46   10              experiencing other than based on race and her
        11              medical condition?
        12      A.      No .
        13      Q.      So what direction,               if any, did you give her
        14              during this meeting?
        15      A.      I told her I was going to report this to human
        16              resources.
        17      Q.      You said that you were going to report it to
        18              human resources?
        19      A.      Ri ght        because we don't handle discrimination
09:47 20                or medical condition issues.                      HR and corporate
        21              health would.
        22      Q.      But I just want to be clear.                      You told her that
        23              you were going to report it;                    you didn't tell
        24              her that she should go report it?
        25      A.      No     I     told   her that      I would.



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         1   Q.      In fact, did you do that?
         2   A.     Yes     I e-mailed Julie Chester.
         3   Q.      She was the contact in HR?
         4   A.      She was the director of human resources.
         5   Q.      Other than e-mailing Julie Chester,                    did you
         6           then have any follow-up conversations with her
         7           about what Dr. O'Donnell had communicated to
         8           you?
         9   A.      I believe I went to Dr.             Shuck and informed him
09:48   10           as well, verbally.
        11   Q.      You    basically,       reiterated to Dr. Shuck what
        12           Dr. O'Donnell had communicated to you?
        13   A.      Correct.
        14   Q.      And then did Dr. Shuck indicate what he was
        15           going to do with that information?
        16   A.      No .
        17   Q.      Did you indicate to Dr. Shuck that you had
        18           reached out to Julie Chester?
        19   A.      Correct.
09:48 20     Q.      Did Julie Chester follow up with you for more
        21           information?

        22   A.      Yes.

        23   Q.      Before we move to that,              so in your second
        24           meeting with Dr. O'Donnell                  you told her that
        25           you were going to report to HR.                    Did she say


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